ANNA M. TIGHE, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  JULIUS C. MOSER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  JOSEPHINE T. MOSER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  CARL F. MOSER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Tighe v. CommissionerDocket No. 10915-10918.United States Board of Tax Appeals12 B.T.A. 670; 1928 BTA LEXIS 3493; June 15, 1928, Promulgated *3493 Charles Colip,5 B.T.A. 123"&gt;5 B.T.A. 123, followed.  John G. Remey, Esq., and R. S. McGlasson, C.P.A., for the petitioners.  W. Frank Gibbs, Esq., for the respondent.  MURDOCK *670  The above cases were consolidated for hearing and decision.  All of the facts were stipulated.  These proceedings are for the redetermination of deficiencies in income taxes for the calendar year 1924, in the following amounts: Anna M. Tighe$111.22Julius C. Moser240.37Josephine T. Moser272.05Carl F. Moser174.19Although other errors were alleged in the petition, the only alleged error now urged for our consideration is that the Commissioner, in determining the tax at 1923 rates, denied each taxpayer a credit of 25 per cent of the total tax computed at 1923 rates.  FINDINGS OF FACT.  Each of the petitioners is an individual residing at New Albany, Ind.  During the year 1924, each was a member of the George Moser Leather Co., a partnership.  For the calendar year 1924, and for other years, each reported his or her taxable income on the calendar year basis.  The partnership kept its books and made its partnership return for*3494  the fiscal year ended June 30, 1924.  The Commissioner determined the total tax liability of each petitioner by determining the tax at 1924 rates and at 1923 rates and adding the two together.  In determining the tax at 1923 rates, he did not allow a credit of 25 per cent of the total tax.  OPINION.  MURDOCK: This case is governed by our decision in the case of . Judgment will be entered for the respondent.